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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

United States of America,

       Plaintiff,

v.                                                    Cr. No. 08-20139
                                                      (also being filed in 08-20140)

D-1 Joseph Eberle,                                    Honorable Sean Cox

      Defendant.
__________________________________/

                           ORDER FOLLOWING HEARING
                    TO RESOLVE POSSIBLE CONFLICT OF INTEREST

       On April 4, 2008, the Government filed a “Motion for Hearing to Resolve Possible

Conflict of Interest and Accompanying Memorandum of Law.” (Docket Entry No. 10). In that

motion, the Government expressed concern that attorney Richard Convertino (“Convertino”),

who represents Defendant Joseph Eberle (“Eberle”) in this action, may have previously

represented two individuals who may be called to testify at trial in this matter, Joseph Brodeur

(“Brodeur”) and Aaron Hendricks (“Hendricks”). The Government raised the issue that

Convertino’s former representation of those individuals may pose a potential conflict of interest

in this case, and requested that the Court set a hearing to determine whether there is a potential

or actual conflict of interest as a result of Convertino’s prior representation of Brodeur and

Hendricks.

       The Court held hearings on the motion on April 25, 2008, and May 21, 2008. During

those hearings, the Court explored the potential conflicts of interest with the parties. All parties

agreed that the Court should follow the procedures set forth in the following cases: United States

v. Iorizzo, 786 F.2d 52 (2d Cir. 1986); United States v. Curico, 680 F.2d 881 (2d Cir. 1982); and
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United States v. Swafford, 512 F.3d 833 (6th Cir. 2008).

        The Court heard testimony from Brodeur, who is a licensed attorney in Michigan, and

Brodeur testified that while he had conversations with Convertino, he had no attorney-client

relationship with Convertino at any time. Thus, this Court found that there was no attorney-

client privilege for Brodeur to waive.

        The Court also heard testimony from Hendricks, on both April 25, 2008, and again on

May 21, 2008. Hendricks was represented by independent counsel at both hearings. After this

Court heard Hendricks’ testimony regarding his relationship with Convertino, the Court asked

Hendricks whether he wished to waive any attorney-client privilege he had with Convertino.

The Court advised Hendricks of the risks of doing so, and advised Hendricks to take some time

to consider the issue and consult with independent counsel before answering the question.

Hendricks indicated at the April 25, 2008 hearing, and confirmed again on the record on May 21,

2008, that he wished to waive any attorney-client privilege that he has with Convertino. The

Court found that this waiver was knowing, voluntary and informed.

        The Court then addressed the possible conflict of interest issue with Eberle. Eberle

indicated that he fully understood the issue, had an opportunity to consult with outside counsel

on the issue, and had no questions for the Court. Eberle indicated on the record that to the extent

any potential conflict of interest still exists, he wishes to waive his right to conflict-free

representation.

        Accordingly, IT IS ORDERED that the Court hereby finds that a conflict of interest does

not currently exist in this matter as a result of Convertino’s prior representation of Brodeur and

Hendricks. Moreover, to the extent that any possible potential conflict of interest still exists

following the testimony of Brodeur and the waiver by Hendricks, the Court finds that Eberle has
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made a knowing, voluntary and informed waiver of his right to conflict-free representation under

the Sixth Amendment. Thus, Convertino may continue to represent Eberle in this matter.

       IT IS SO ORDERED.

       The Court further notes that while the Government has not raised any issue with respect

to Convertino’s representation of Eberle in this matter, while at the same time representing

Defendant Shawn Hoy in a separate but related criminal action (CR. 08-20140), the Court raised

concerns regarding a possible conflict of interest. Both the Government and Convertino

responded that they do not see a reasonable possibility of a potential conflict of interest because,

among other things, the actions have very distinct facts and it is not anticipated that Eberle will

or could be called as a witness in the case against Hoy and vice versa. Given those

representations, the Court does not believe that a conflict of interest exists at this time. The

Court instructed the parties, however, that if the circumstances change such that a potential

conflict appears to exist, they should bring the matter to the Court’s attention immediately.


                                       S/Sean F. Cox
                                       Sean F. Cox
                                       United States District Judge

Dated: May 23, 2008

I hereby certify that a copy of the foregoing document was served upon counsel of record on
May 23, 2008, by electronic and/or ordinary mail.

                               S/Jennifer Hernandez
                               Case Manager
